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                                   United States District Court
                                   Southern District of Texas
                                    Corpus Christi Division
M.D., et al.
               Plaintiff
v.                                                               Case No.: 2:11−cv−00084
                                                                 Judge Janis Graham Jack
Greg Abbott, et al.
               Defendant


                                     Official Transcript Filed

An official transcript has been filed. It may have information restricted from public disclosure.
See E-Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

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then.

If redaction is needed, the parties must file a statement of the items to be redacted. Include the
transcript's docket number and the item's location by page and line. It must be filed within 21 days of
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       •   Statements by that party;
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       •   Other parts ordered by the court.

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                                                             Nathan Ochsner, Clerk
